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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 TELEBRANDS CORPORATION,                          )
                                                  )
                               Plaintiff,         )
                                                  )
                v.                                )     C.A. No. 24-799-RGA
                                                  )
 PINNACLE BRANDS, LLC, and                        )
 OCEAN STATE JOB LOT OF DE, INC.,                 )
                                                  )
                               Defendants.        )

                          STIPULATION FOR EXTENSION OF TIME

       Plaintiff Telebrands Corporation (“Plaintiff” or “Telebrands”) and Defendants Pinnacle

Brands, LLC (“Pinnacle”) and Ocean State Job Lot of DE, Inc. (“Ocean State”), by and through

their undersigned counsel, hereby stipulate and agree, subject to the approval of the Court, that

Pinnacle’s time to answer, move or otherwise respond to the Complaint (D.I. 1) shall be

extended to December 30, 2024 and that Ocean State’s time to answer, move or otherwise

respond to the Complaint (D.I. 1) shall be extended to January 6, 2025.

Dated: December 23, 2024

 ASHBY & GEDDES                                      MORRIS JAMES LLP


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                                                     Ocean State Job Lot of DE, Inc.



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SO ORDERED this ____ day of December, 2024.


                                              ______________________________
                                              United States District Court Judge




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